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                            UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF PENNSYLVANIA

JOSHUA GONZALEZ, JAMIE HUBER and )                    Case No.: 2:20-cv-03259-GEKP
MONICA HUGGINS,                  )
                                 )
           Plaintiffs,           )
      vs.                        )
                                 )
ACCOUNT RESOLUTION SERVICES,     )
LLC, EXPERIAN INFORMATION        )
SOLUTIONS, INC.,                 )
                                 )
           Defendants            )
                                 )

                AMENDED STIPULATION OF DISMISSAL BY JAMIE HUBER

       It is hereby stipulated and agreed by and between counsel for Plaintiff, Jamie Huber, and

counsel for Defendant Experian Information Solutions, Inc. that the above-entitled action is hereby

dismissed (by co-Plaintiff Jamie Huber only) against Defendants Account Resolution Services,

LLC and Experian Information Solutions, Inc. without prejudice and without attorneys’ fees and

costs pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure.

Dated: January 08, 2021

Respectfully submitted,



                                                     Respectfully submitted,

                                                     /s/ Steven Benedict
                                                     Steven Benedict, Esq.
                                                     Zemel Law LLC
                                                     660 Broadway
                                                     Paterson, New Jersey 07514
                                                     T: 867-227-3106
                                                     steven@zemellawllc.com
                                                     Counsel for Plaintiff Jamie Huber
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                                 /s/ Mohammad A. Ghiasuddin
                                 Mohammad A. Ghiasuddin, Esq.
                                 Margolis Edelstein
                                 The Curtis Center, Suite 400e
                                 170 S. Independence Mall, W.
                                 Philadelphia, PA 19106-3337
                                 215-931-5802
                                 215-922-1772 (fax)
                                 mghiasuddin@margolisedelstein.com
                                 Counsel for Defendant
                                 Experian Information Solutions, Inc.
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on January 8, 2021, a true and correct copy of the foregoing document

was sent to all counsel of record via the Court’s ECF filing system.

                                                              /s/ Steven Benedict
                                                              Steven Benedict, Esq.
